
36 N.Y.2d 793 (1975)
In the Matter of the Arbitration between the Village of Canastota, Respondent, and Queensboro Farm Products, Inc., Appellant.
Court of Appeals of the State of New York.
Argued March 21, 1975.
Decided April 3, 1975.
Charles T. Beeching, Jr., Thomas S. Evans and Joe Schapiro for appellant.
Ralph J. Balducci, Village Attorney (Dante M. Scaccia and Richard J. Brickwedde of counsel), for respondent.
Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE concur.
*794MEMORANDUM.
Subdivision 2 of section 452 of the General Municipal Law provides, in pertinent part, that "sewer rents may be established and imposed only by * * * local law or ordinance" in the case of villages such as the petitioner.
In light of this specific restriction petitioner lacked authority to establish sewer rates by contract, and therefore the contract of 1966 was of no force and effect.
Order affirmed, with costs, in memorandum.
